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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA



 PACIFIC EDGE DIAGNOSTICS USA,
 LTD.

 1214 Research Boulevard, Ste. 2000
                                                    No. 1:25-CV-00291
 Hummelstown, PA 17036,
                              Plaintiff,            Hon. Keli M. Neary
                                                    United States District Judge
 v.
 ROBERT F. KENNEDY, in his official
 capacity as Secretary of Health and
 Human Services

 200 Independence Avenue, SW
 Washington, DC 20201,


 NOVITAS SOLUTIONS, INC.

 2020 Technology Parkway, Suite 100
 Mechanicsburg, PA 17050,
                           Defendants.


                  PLAINTIFF’S MOTION FOR LEAVE
           TO FILE A BRIEF IN EXCESS OF THE WORD LIMIT

      Plaintiff Pacific Edge Diagnostics USA, Ltd. files this Motion for Leave to

File a Brief in Excess of the Word Limit, pursuant to Local R. 7.8, in reply to

Defendants’ Opposition to Plaintiff’s Motion for a Preliminary Injunction. Pacific

Edge has filed a brief in support of this Motion, consistent with Local R. 7.5. Pacific

Edge respectfully requests that this Court grant the Motion and permit Pacific Edge

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to file a brief not to exceed 6,000 words in length, exclusive of tables and signature

blocks.

Dated: March 31, 2025

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                                       Pro Hac Vice

                                       McNEES WALLACE & NURICK LLC


                                       /s Sarah Hyser-Staub
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            CERTIFICATE OF WORD COUNT COMPLIANCE


      I hereby certify that the foregoing brief is 85 words according to the word

count feature of Microsoft Word.



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             CERTIFICATE OF CONCURRENCE PURSUANT
                         TO LOCAL R. 7.1

      The undersigned hereby certifies that counsel for Pacific Edge consulted

counsel for Defendants Robert F. Kennedy and Novitas Solutions, Inc. regarding the

request found herein. Opposing counsel confirmed Defendants concur with this

request.


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Dated: March 31, 2025




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                       CERTIFICATE OF SERVICE

      I hereby certify that on this date the foregoing document was e-filed via

CM/ECF and served by hand delivery, as follows:

                               Robert F. Kennedy
                            in his official capacity as
                   Secretary of Health and Human Services
                   c/o United States Department of Justice
                        United States Attorney’s Office
                    for the Middle District of Pennsylvania
                  Sylvia H. Rambo United States Courthouse
                          1501 N. 6th Street, 2nd Floor
                              Harrisburg, PA 17102

                           Novitas Solutions, Inc.
                     2020 Technology Parkway, Suite 100
                          Mechanicsburg, PA 17050


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